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SDNY (Rev. 12/21)
AO 98 (Rev. 12/11} Appearance Bond

UNITED STATES DISTRICT COURT

for the
Southern District of New York

United States of America )
Vv. )
) Case No. 24 MAG 2130

Keith Taylor )
Defendant )

APPEARANCE BOND

Defendant’s Agreement

I, Keith Taylor {defendant}, agree to follow every order of this court, or any

court that considers this case, and I further agree that this bond may be forfeited if I fail:
(xX ) to appear for court proceedings;
(xX ) if convicted, to surrender to serve a sentence that the court may impose; or
{x ) to comply with all conditions set forth in the Order Setting Conditions of Release.

Type of Bond

{ * ) (Lh) This is a personal recognizance bond.
( X ) (2) This is an unsecured bond of $250,000.00. ( & ) Cosigned by 1 FRP.

{ ) G) This is a secured bond of , secured by:

( Je , in cash deposited with the court.

( ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
(describe the cash or other property, including claims on it — such as a lien, mortgage, or loan — and attach proof of
ownership and value):

If this bond is secured by real property, documents to protect the secured interest may be filed of record.

{ ) (c} a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the surety): .

( 3 (d) Cosigned by FRP,

Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited ifthe defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement, At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.

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24 MAG 2130
AO 98 (Rev. 12/11) Appearance Bond

Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

Declarations

Ownership of the Property. |, the defendant — and each surety — declare under penalty of perjury that:

(1) all owners of the property securing this appearance bond are included on the bond;

(2) the property is not subject to claims, except as described above; and

(3) I will not self the property, allow further claims to be made against it, or do anything to reduce its value
while this appearance bond is in effect.

Acceptance. 1, the defendant — and each surety — have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. I agree to this Appearance Bond.

i, the defendant — and each surety — declare under penalty of perjury that this information is true. (See 28 U.S.C. § 1746.)

Date: 06/11/2024

ib
Defendant's Signature Keith Taylor

Anierpreier’s
initials

Surely/property owner - printed name Suretyproperty owner - signature and date Deputy Clerk's Iuterpreter's
initials Initials
Suretyproperty owner - printed name Surety/property owner - signature and date Deputy Clerk's interpreter's
Initials dnitials
Surety/property owner - printed name Surety/property owner - signature and date Deputy Clerks Tulerpreter's
initials Initials
CLERK OF COURT

Date: _ 06/11/2024 Jes €

\. Cj Signature of Deputy Clerk .

Approved. : Digitally signed by REBECCA

REBECCA DELFINER" DELFINER

Date: _ 06/11/2024 "Date: 2024.06.11 13:29:42 -04'00"

AUSA's Signature Rebecca Delfiner

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AO 199A (Rev. 06/19) Order Setting Conditions of Release

UNITED STATES DISTRICT COURT

for the
Southern District of New York

United States of America
v.

Keith Taylor

Case No. 24 MAG 2130

Defendant
ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:
(1) The defendant must not violate federal, state, or local law while on release,
(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
the court may impose.

The defendant must appear at:

Place

On

Date and Time

Lf blank, defendant will be notified of next appearance.

(5) The defendant must sign an Appearance Bond, if ordered.

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AO 199B (Rev. 12/20} Additional Conditions of Release Keith Taylor 24 MAG 2130

ADDITIONAL CONDITIONS OF RELEASE

Pursuant to 18 U.S.C. § 3142(c)(1)(B), the court may impose the following least restrictive condition(s) only as necessary to reasonably assure the
appearance of the person as required and the safety of any other person and the community.

IT iS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

(C)) (© The defendant is placed in the custody of:
Person or organization
Address (only ifabeve is an organization)
City and state Tel. No.

who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court

immediately if the defendant violates a condition of release or is no longer in the custodian’s custody.

Signed:

Custodian Date

(vb (7) The defendant must:
([7]) (a) submit to supervision by and report for supervision to the PRETRIAL SERVICES FOR L] Regular; CJ Strict; As Directed

telephone number , no later than
(1) (b) continue or actively seek employment.
(LJ (ce) continue or start an education program.
(i) (d} surrender any passport to: PRETRIAL SERVICES
(I¥}) (e) not obtain a passport or other international travel document.
(L7]) (abide by the following restrictions on personal association, residence, or travel: SDNY/EDNY

(L-]) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
including:

(L_]) (bh) get medical or psychiatric treatment:

((-]) return to custody each at o'clock after being released at o’clock for employment, schooling,
or the following purposes:

(L) G) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
necessary.

{(_]} (&) not possess a firearm, destructive device, or other weapon,

(L) (2) notuse alcohot( [[] }atall( [_] } excessively.

(LD) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C, § 802, unless prescribed by a licensed
medical practitioner.

(LC) () submit to testing for a prohibited substance if required by the pretrial services office or supervising officer, Testing may be used with
random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy
of prohibited substance screening or testing.

(1) (0) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or

supervising officer,
(L]) (p) participate in one of the following location restriction programs and comply with its requirements as directed.
(L} @ Curfew. You are restricted to your residence every day ( [_]) from to ,or (L_])as

directed by the pretrial services office or supervising officer; or

(lL) (ii) Home Detention. You are restricted to your residence at ail times except for employment; education; religious services;
medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations, or other
activities approved in advance by the pretrial services office or supervising officer; or

(CL) Git} Home Incarceration, You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
court appearances or other activities specifically approved by the court; or

({_]) (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home incarceration restrictions. However,
you must comply with the location or travel restrictions as imposed by the court.
Note: Stand Alone Monitoring should be used in conjunction with global positioning system (GPS) technoiogy.

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AO 199B (Rev. 12/20} Additional Conditions of Release Keith Taylor 24 MAG 2130

(C1) @

(I)
(1) ©)
(4)

ADDITIONAL CONDITIONS OF RELEASE

submit to the following location monitoring technology and comply with its requirements as directed:
(£13 i) Location monitoring technology as directed by the pretrial services or supervising officer; or
(L] ) (id) Voice Recognition; or

(E] ) (iii} Radio Frequency; or

(1) (iv) GPS.

pay afl or part of the cost of location monitoring based upon your ability to pay as determined by the pretrial services or supervising
officer.

report as soon as possible, to the pretrial services or supervising officer, every contact with law enforcement personnel, including arrests,
questioning, or traffic stops.

Agreed conditions of release; $250,000 Personal recognizance bond; Cosigned by one financially responsible
person; Travel restricted to SDNY/EDNY; Surrender travel documents and no new applications; Pretrial
supervision as directed by Pretrial Services; Deft shall remove himself as signatory on all financial accounts for
the Charity referenced in the Complaint; Deft may not open any new financial accounts without prior permission
of PTS; Deft may not possess personal information of any other persons; Deft to be released on own signature;
Remaining conditions to be met by 6/18/24.

Defense Counsel Name: Brian Ketcham

Defense Counsel Telephone Number: 212-518-6380

Defense Counsel Email Address: bK@ketchampllc.com

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AQ i99C (Rev. 09/08) Advice of Penalties

ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT: Keith Taylor Case No. 24 MAG 2130
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.¢., in addition to) to any other sentence you receive.

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.

If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more — you will be fined

not more than $250,000 or imprisoned for not more than [0 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will be fined not

more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) amisdemeanor— you will be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant

Lacknowledge that I am the defendant in this case and that ] am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.

mA

Date: 06/11/2024 we

Defindant*s Signature Ketth Taylor
DEFENDANT RELEASED

City and State

Directions to the United States Marshal

(_) The defendant is ORDERED released after processing.
The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
has posted bond and/or complied with all other conditions for release. [f still in custody, the defendant must be produced before
the appropriate judge at the time and place specified,

Date:

Judicial Officer's Signature

y, Digitally signed by REBECCA DELFINER
REB ECCA D EL F | N ER “Date: 2024.06.11 13:30:56 -04'00'

AUSA's Signature Rebecca Delfiner

DISTRIBUTION: COURT DEFENDANT PRETRIALSERVICE U,S,ATTORNEY U.S. MARSHAL

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AO 199C (Rev. 09408) Advice of Penalties

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Scuthern District cf Mew York

The Ercnx.

Manhattan

Westehester
BRerckiand
Dutchess

crange

Putnam
Sullivan

Easter Cistrict cf Sew Yerk

Ercekivn (ings County)
Queens (Cucens County}
Staten Island {bichmicnd Ccunty)
Leng Island (Nassau & Suffelk)

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Proceeding via! (] Video Conference DAT&T [In Person

DOCKET No. 24m;2130 DEFENDANT Keith Taylor
AUSA Rebeca Delfiner DEF.’S COUNSEL Brian Ketcham
Vireraine> CI FEDERAL DEFENDERS L] cya LJ pRESENTMENT ONLY
Cl] INTERPRETER NEEDED
L] DEFENDANT WAIVES PRETRIAL REPORT

MRule5 ClRule9 O Rule 5(c}(3) (J Detention Hrg. =DATE OF ARREST 6/11/2024 C1] VOL. SURR.

TIME OF ARREST 7:05am CON WRIT
C1] Other: TIME OF PRESENTMENT 12:30pm

BAIL DISPOSITION

LJ SEE SEP, ORDER
(DETENTION ON CONSENT W/O PREJUDICE CIDETENTION: RISK OF FLIGHT/DANGER [CISEE TRANSCRIPT
(J DETENTION HEARING SCHEDULED FOR:
¥] AGREED CONDITIONS OF RELEASE

CI DEF. RELEASED ON OWN RECOGNIZANCE

i $250,000 PRB WI] FRP

LJ SECURED BY $ CASH/PROPERTY:
TRAVEL RESTRICTED TO SDNY/EDNY/
CO TEMPORARY ADDITIONAL TRAVEL UPON CONSENT OF AUSA & APPROVAL OF PRETRIAL SERVICES
i] SURRENDER TRAVEL DOCUMENTS (& NO NEW APPLICATIONS)

VI] PRETRIAL SUPERVISION: LIREGULAR LISTRICT [MAS DIRECTED BY PRETRIAL SERVICES

C DRUG TESTING/TREATMT AS DIRECTED BY PTS TIMENTAL HEALTH EVAL/TREATMT AS DIRECTED BY PTS
C1 DEF. TO SUBMIT TO URINALYSIS; IF POSITIVE, ADD CONDITION OF DRUG TESTING/TREA TMENT

CJ] HOME INCARCERATION [] HOMEDETENTION [J cuRFEW [1 STAND ALONE MONITORING
LJILOCATION MONITORING TECHNOLOGY AS DIRECTED BY PTS ] GPs

CIDEF. TO PAY ALL OF PART OF COST OF LOCATION MONITORING, AS DETERMINED BY PRETRIAL SERVICES

(DEF. TO CONTINUE OR SEEK EMPLOYMENT [OR] [1 DEF. TO CONTINUE OR START EDUCATION PROGRAM
(1 DEF. NOT TO POSSESS FIREARM/DESTRUCTIVE DEVICE/OTHER WEAPON

Ci DEF, TO BE DETAINED UNTIL ALL CONDITIONS ARE MET
DEF. TO BE RELEASED ON OWN SIGNATURE, PLUS THE FOLLOWING CONDITIONS:
; REMAINING CONDITIONS TO BE MET BY: 6/18/2024

ADDITIONAL CONDITIONS/ADDITIONAL PROCEEDINGS/COMMENTS:

1, Def. shall remove himself as signatory on all financial accounts for the Charity referenced in the Complaint.
2. Def. may not open any new financial accounts without prior permission of PTS.
3. Def. may not possess personal information of any other persons.

C] DEF. ARRAIGNED; PLEADS NOT GUILTY Ld CONFERENCE BEFORE D.J. ON
[] DEF. WAIVES INDICTMENT
C1) SPEEDY TRIAL TIME EXCLUDED UNDER 18 U.S.C. § 3161(h)(7) UNTIL

For Rule 5(c)(3} Cases:
C] (IDENTITY HEARING WAIVED - [1 DEFENDANT TO BE REMOVED

C] PRELIMINARY HEARING IN SDNY WAIVED LI CONTROL DATE FOR REMOVAL:

PRELIMINARY HEARING DATE: 7/11/2024 Ml ON DEFENDANT’S CONSENT

UNITED STATES MAGISTRATE JUDGE, S.D.N.Y.

WHITE (original) - COURT FILE PINK - U.S. ATTORNEY'S OFFICE YELLOW - U.S. MARSHAL GREEN — PRETRIAL SERVICES AGENCY
Rev'd 2016

